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 7                                    UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    UNITED STATES OF AMERICA,                          Case No. 2:08-CR-093 KJM
11                       Plaintiff,
12            v.                                         ORDER
13    JOSHUA COFFMAN, et al.,
14                       Defendants.
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17                  On October 30, 2017, the court ordered defendant Joshua Coffman, jointly and

18   severally with all other defendants convicted and sentenced in this case, to pay a total restitution of

19   $7,364,387.04 and further ordered the clerk of the court to issue an amended judgment reflecting

20   the restitution order. Order, ECF No. 1571; Ex. A, ECF No. 1571-1. The government’s restitution

21   memorandum requested $7,973,923.51 in total restitution, Mem., ECF No. 1444 at 24, though the

22   sum of the individual restitution amounts the government requested for each victim, id. at 6-23,

23   totaled $7,974,309.53. In its order, the court reduced the government’s requested restitution “by

24   subtracting $162,179.36 (the loss the government attributes to [victim] T.C./T.C.) because the

25   record contradicts this figure, and $96,319.71, the difference between the loss the government says

26   L.A. suffered ($260,697.40) and the loss L.A. says he suffered ($150,000).” Order at 1, 10. The

27   court also addressed two government miscalculations by reducing the government’s requested

28   $119,015.45 in restitution for victim T.R. by $1, to $119,014.45, and reducing the government’s
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 1   requested $121,801.40 in restitution for victims H.W. and A.W. by $385.02, to $121,416.38. Id. at
 2   8 n.5, Ex. A. at 1-2 nn.1-2. No other adjustments were made. See Mot. at 10-13 (rejecting
 3   Coffman’s arguments regarding his claimed credits, inability to pay and the amount estimated in
 4   his plea agreement).
 5                  Although $7,974,309.53, the sum of the government’s individual restitution
 6   requests, less the court’s reductions of $162,179.36, $96,319.71, $1.00 and $385.02, totals
 7   $7,715,424.44, the court awarded total restitution in the amount of $7,364,387.04. See Order at 13.
 8   And although the individual restitution amounts ordered for each identified victim, provided in
 9   Column E of Exhibit A, also totals $7,715,424.44, the court again provided a total restitution
10   amount of $7,364,387.04 in Exhibit A. See Ex. A. Accordingly, there is a $351,037.40 discrepancy
11   between the court’s total award and the sum of the individual awards.
12                  The court has identified the source of discrepancy. Although the court determined
13   victim J.B. is entitled to $260,697.40 in restitution and victim O.K. is entitled to $90,340.00 in
14   restitution, neither of those figures were included in the court’s calculation of the total restitution
15   owed. The omission of these figures created a $351,037.40 discrepancy between the individual
16   and total restitution amounts identified by the court. The correct sum of the restitution owed to the
17   victims is $7,715,424.44, not $7,364,387.04, and the court’s reasoning, as well as all figures cited,
18   confirm the court’s mistake resulted from a purely clerical error or omission.
19                  The court now notifies the parties of its clerical error and provides the parties with
20   fourteen (14) days to respond. See Fed. R. Crim. P. 36 (“After giving any notice it considers
21   appropriate, the court may at any time correct a clerical error in a judgment, order, or other part of
22   the record, or correct an error in the record arising from oversight or omission.”). If no objections
23   are received, the court will enter an amended judgment reflecting the $7,715,424.44 in total
24   restitution owed.
25                  IT IS SO ORDERED.
26   DATED: February 27, 2019.
27
                                                            UNITED STATES DISTRICT JUDGE
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